923 F.2d 201
    287 U.S.App.D.C. 378
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.George D. GATES, Appellant.
    No. 89-3197.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 13, 1990.
    
      Before BUCKLEY, STEPHEN F. WILLIAMS and CLARENCE THOMAS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the response to the court's order to show cause filed September 14, 1990, it is
    
    
      2
      ORDERED that the order to show cause be discharged.  It is
    
    
      3
      FURTHER ORDERED, on the court's own motion, that the district court's memorandum order filed October 26, 1989, be summarily affirmed.  Appellant has failed to show that the district court misapplied the law or abused its discretion in denying his motion for a new trial.    See United States v. Kelly, 790 F.2d 130, 133 (D.C.Cir.1986).
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    